Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 1 of 17




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  DIAMONDS BY RAYMOND LEE,
  LLC, a Florida limited liability company,

         Defendant.
   _________________________________/

                                            COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant

  DIAMONDS BY RAYMOND LEE, LLC, a Florida limited liability company, and alleges as

  follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This is also an action for declaratory and injunctive relief to prevent discrimination which

  includes equal access to an internet website for services, to order merchandise, and to secure

  information about Defendant’s store online.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.




                                                   1
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 2 of 17




         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been visually impaired and physically

  disabled who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”). As a

  result of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body as

  a whole and only has limited use of his left hand. Further, because of his disease, Plaintiff has

  developed optic neuritis and is visually disabled, with complete blindness in one eye and limited

  vision in the other eye. Plaintiff thus is substantially limited in performing one or more major life

  activities, including, but not limited to, sight, accurately visualizing his world, and adequately

  traversing obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C.

  §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101, et seq., and

  in 42 U.S.C. §3602(h).

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available screen reader software and other technology and assistance.

         7.      Defendant is a Florida limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns and operates a retail store selling to the

  public jewelry, including one of the stores Plaintiff had patronized and intended to patronize at

  2801 Federal Highway, Boca Raton, Florida.

         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.




                                                   2
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 3 of 17




         9.      Plaintiff frequently accesses the internet.       Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and hereby access/comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns

  and operates a retail stores that sell jewelry, designer fragrances, and accessories under the name

  “Diamonds by Raymond Lee”. Each Diamonds by Raymond Lee store is open to the public. As

  the owner and operator of these retail stores, Defendant is defined as a place of “public

  accommodation" within meaning of Title III because Defendant is a private entity which owns

  and/or operates “[A] bakery, grocery store, clothing store, hardware store, shopping center, or

  other sales or rental establishment,” per 42 U.S.C. §12181(7) (E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA and its

  implementing regulation; 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website called

  https://diamondsbyraymondlee.com (hereinafter the “Website”). One of the functions of the

  Website is to provide the public information on the various locations of Defendant’s stores that

  sell its merchandise throughout the United States and within the State of Florida. Defendant also

  sells to the public its merchandise and goods through the Website.

         13.     The Website also services Defendant’s physical stores by providing information on

  available products and merchandise, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.




                                                  3
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 4 of 17




         14.     Because the Website allows the public the ability to locate Defendant’s physical

  stores, purchase merchandise that is also available for purchase in the physical stores, and sign up

  for an electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use in

  the physical stores, the Website is an extension of, and gateway to, Defendant’s physical stores.

  By this nexus, the Website is characterized as an intangible service, privilege, and advantage

  provided by a place of public accommodation as defined under the ADA and thus an extension of

  the services, privileges, and advantages made available to the general public by Defendant through

  its brick and mortar locations and businesses.

         15.     Because the public can view and purchase Defendant’s merchandise that is also

  offered for sale in Defendant’s physical stores and sign up for an electronic emailer to receive

  offers, benefits, exclusive invitations, and discounts for use in the physical stores, the Website is

  an extension of, and gateway to, the physical store, which are places of public accommodation

  pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is an intangible service,

  privilege and advantage of Defendant’s brick and mortar store locations that must comply with all

  requirements of the ADA, must not discriminate against individuals with visual disabilities, and

  must not deny those individuals the same full and equal enjoyment of the services, privileges and

  advantages afforded to the non-disabled general public both online and in its physical store.

         16.     At all times material hereto, Defendant was and still is an organization owning and

  operating the Website. Since the Website is open to the public through the internet, by this nexus

  the Website is an intangible service, privilege and advantage of Defendant’s brick and mortar

  stores that must comply with all requirements of the ADA, must not discriminate against

  individuals with visual or physical disabilities, and must not deny those individuals the full and

  equal enjoyment of the services, privileges and advantages as are afforded to the non-disabled



                                                    4
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 5 of 17




  public both online and at the physical store. As such, Defendant has subjected itself and the

  Website to the requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers described herein are removed or

  remedied, Defendant’s physical stores (including the store located at 2801 Federal Highway, Boca

  Raton, Florida), and to purchase merchandise and sign up for an electronic emailer to receive

  offers, benefits, exclusive invitations, and discounts for use on the Website or in Defendant’s

  physical stores.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise, and sign up for an

  electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use in the

  physical stores from his home are important accommodations for Plaintiff because traveling

  outside of his home as a physically and visually disabled individual is often difficult, hazardous,

  frightening, frustrating and confusing experience. Defendant has not provided its business

  information in any other digital format that is accessible for use by blind and visually impaired

  individuals using the screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his visit, compare merchandise, prices, sales, discounts, and promotions. Plaintiff may look at

  several dozens of sites to compare features, discounts, promotions, and prices.

         20.     During the month of March 2020, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the merchandise and online offers to educate himself as to

  the merchandise, sales, discounts, and promotions being offered, to search for the brick and mortar

  locations, check store hours, and check pricing of merchandise with the intent to making a purchase

  through the Website or at one of Defendant’s store.



                                                   5
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 6 of 17




         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  visually disabled to communicate with websites. However, Defendant’s Website contains access

  barriers that prevent free and full use by visually disabled individuals using keyboards and

  available screen reader software. These barriers are pervasive and include, but are not limited to:

         a. Empty forms;

         b. Site information like telephone number not properly labeled;

         c. Site function like menu drop down option not labeled to integrate with the screen
            reader;

         d. Missing description for image content; and

         e. Mislabeled links.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a web page with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice was on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same online computer shopping experience,

  with access to the merchandise, sales, discounts, and promotions as provided at the Website and

  for use in the physical store, as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical store and to use the Website, but he

  is presently unable to fully do so as he is unable to effectively communicate with Defendant due

                                                    6
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 7 of 17




  to his severe visual disability and Defendant’s Website’s access barriers. Thus, Plaintiff, as well

  as others who are blind or with visual disabilities, will suffer continuous and ongoing harm from

  Defendant’s intentional acts, omissions, policies, and practices as set forth herein unless properly

  enjoined by this Court.

          26.     Because of the nexus between Defendant’s retail stores and the Website, and the

  fact that the Website clearly provides support and is connected to Defendant’s retail stores for its

  operation and use, the Website is an intangible service, privilege, and an advantage of Defendant’s

  brick and mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  enjoyment of the services, privileges and advantages as are afforded to the non-disabled public

  both online and at the physical store locations, which are places of public accommodations subject

  to the requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.




                                                   7
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 8 of 17




         31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

         32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

         33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

         34.     On information and belief, Defendant has not created and instituted a Specialized

  Customer Assistance line or service or email contact mode for customer assistance for the visually

  disabled.

         35.     On information and belief, Defendant has not created and instituted on the Website

  a page for individuals with disabilities, nor displayed a link and information hotline, nor created

  an information portal explaining when and how Defendant will have the Website, applications,

  and digital assets accessible to the visually disabled or blind community.

         36.     On information and belief, the Website does not meet the Web Content

  Accessibility Guidelines (“WCAG”) 2.0 Level AA or higher versions of web accessibility.

         37.     On information and belief, Defendant has not disclosed to the public any intended

  audits, changes, or lawsuits to correct the inaccessibility of the Website to visually disabled

  individuals who want the safety and privacy of purchasing Defendant’s merchandise offered on

  the Website online from their homes.

         38.     Thus, Defendant has not provided full and equal enjoyment of the services,

  facilities, privileges, advantages, and accommodations provided by and through the Website, in

  contravention of the ADA.




                                                   8
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 9 of 17




            39.   Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with disabilities such as Plaintiff.

            40.   The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping Websites, such as the Website at issue in the instant

  action.

            41.   On information and belief, Defendant is, and at all times has been, aware of the

  barriers to effective communication within the Website which prevent individuals with disabilities

  who are visually disabled from the means to comprehend information presented therein.

            42.   On information and belief, Defendant is aware of the need to provide full access to

  all visitors to the Website.

            43.   The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with disabilities who are visually disabled, including Plaintiff.

            44.   Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

            45.   Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

            46.   Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§2201 and 2202.




                                                    9
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 10 of 17




          47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

          48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA because it owns and/or operates the Website, as defined within §12181(7)(E) and is

   subject to the ADA.

          50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate Defendant’s retail stores and sign

   up for an electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use

   at the physical stores. The Website thus is an extension of, gateway to, and intangible service,

   privilege, and advantage of Defendant’s physical stores. Further, the Website also serves to

   augment Defendant’s physical stores by providing the public information on the various physical

   locations of the stores and by educating the public as to Defendant’s available merchandise sold

   through the Website and in its physical store.

          51.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          52.     Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,



                                                    10
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 11 of 17




   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          53.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps, as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          54.     Defendant’s Website must comply with the ADA, but it is not, as specifically

   alleged hereinabove and below.

          55.     Because of the inaccessibility of the Website, individuals with disabilities who are

   visually disabled are denied full and equal enjoyment of the information and services that

   Defendant has made available to the public on its Website and at its physical stores in violation of

   42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

          56.     The Website was subsequently visited by Plaintiff’s expert in March 2020, and the

   expert determination was that the same access barriers that Plaintiff had initially encountered, as

   well as numerous additional access barriers, existed, and that Defendant had made no material

   changes or improvements to the Website to enable its full use, enjoyment and accessibility for

   visually disabled persons such as Plaintiff. Despite having received a written demand from

   Plaintiff in or about May 2020f or remediation of the Website, Defendant still has not adequately

   remedied the Website’s access barriers to make it fully accessible to blind and visually disabled

   persons such as Plaintiff. Defendant also has not posted an effective “accessibility” notice,



                                                   11
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 12 of 17




   statement, or policy on the Website nor has it disclosed to the public any intended audits, changes,

   or lawsuits to correct the inaccessibility of the Website to visually disabled individuals. Defendant

   thus has failed to make reasonable modifications in its policies, practices, or procedures when such

   modifications are necessary to afford goods, services, facilities, privileges, advantages, or

   accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a

   viable and effective “accessibility” notice, policy, or statement and the numerous access barriers

   as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite

   Exhibit “A” and the contents of which are incorporated herein by reference, continue to render the

   Website not fully accessible to users who are blind and visually disabled, including Plaintiff.

           57.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           58.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           59.     There are readily available, well established guidelines on the internet for making

   Websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but not limited to, adding alt-text to graphics, and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to the Defendant.

           60.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

   access to the Website by individuals, such as Plaintiff, with visual disabilities who requires the



                                                    12
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 13 of 17




   assistance of interface with screen reader software to comprehend and access internet websites.

   These violations within the Website are ongoing.

          61.     The ADA and ADAAA require that public accommodations and places of public

   accommodation ensure that communication is effective.

          62.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          65.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          66.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website, with a nexus to its brick and mortar physical store locations, Plaintiff has




                                                    13
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 14 of 17




   suffered an injury in fact by being denied full access to and enjoyment of Defendant’s Website

   and physical store.

          67.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the

   Defendant’s policy to ensure persons with disabilities have full and equal enjoyment of the

   services, facilities, privileges, advantages, and accommodations through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by visually disabled users, and during that time period prior to the Website’s being

   readily accessible, to provide an alternative method for individuals with visual disabilities to access

   the information available on the Website until such time that the requisite modifications are made,

   and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual impairments will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical store and locations, and becoming informed of and

   purchasing Defendant’s merchandise online, and during that time period prior to the Website’s

   being designed to permit individuals with visual disabilities to effectively communicate, to provide

   an alternative method for individuals with visual disabilities to effectively communicate for such

   goods and services made available to the general public through the Website.



                                                     14
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 15 of 17




          69.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

                to monitor and update the Website on an ongoing basis, to remove barriers in order that

                individuals with visual disabilities can access, and continue to access, the Website and

                effectively communicate with the Website to the full extent required by Title III of the

                ADA;

          C. An Order requiring Defendant, by a date certain, to clearly display the universal

                disabled logo within the Website, wherein the logo1 would lead to a page which would

                state Defendant’s accessibility information, facts, policies, and accommodations. Such

                a clear display of the disabled logo is to ensure that individuals who are disabled are

                aware of the availability of the accessible features of the Website;

          D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

                accessibility by implementing a website accessibility coordinator, a website application

                accessibility policy, and providing for website accessibility feedback to ensure

                compliance thereto;




   1
                        or similar.
                                                     15
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 16 of 17




        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to

           ensure the persons with disabilities have full and equal enjoyment of the Website and




                                                16
Case 9:20-cv-81275-DMM Document 1 Entered on FLSD Docket 08/06/2020 Page 17 of 17




            shall accompany the public policy statement with an accessible means of submitting

            accessibility questions and problems;

         K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

         L. Such other and further relief as the Court deems just and equitable.



         DATED: August 6th, 2020



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   By____s/ Roderick V. Hannah __                     By ___s/ Pelayo M. Duran ______
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                                                 17
